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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA

              v.                                                 18-CR-163-FPG

CARLOS BAYON,

                        Defendant.
_______________________________________________


                   GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by and through its attorney, James P. Kennedy, Jr.,

United States Attorney for the Western District of New York, and Assistant United States

Attorney, Paul E. Bonanno, files this Sentencing Memorandum.



                              PRELIMINARY STATEMENT

       On July 31, 2019, the defendant was convicted after a jury trial of two counts of

retaliating against a federal official, in violation of Title 18, United States Code, Section

115(a)(1), and two counts of making a threat by interstate communication, in violation of

Title 18, United States Code, Section 875(c).



       As set forth in the revised Presentence Investigation Report dated November 13, 2019,

(Doc. 152), the Sentencing Guidelines offense level is twenty (20) after all adjustments are

applied. Thus, with a criminal history category of I, the resulting Sentencing Guidelines range

of imprisonment is 33 to 41 months, a fine range of $15,000 to $150,000, and a period of

supervised release of 1 to 3 years.
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                                 STATEMENT OF FACTS

       The government concurs with and relies on the detailed statement of facts set forth in

the Presentence Investigation Report at paragraphs 4 through 13.



                                    APPLICABLE LAW

       Title 18, United States Code, Section 3553(a) requires that this Court Aimpose a

sentence sufficient, but not greater than necessary” and consider the following factors,

among others:

       (1)    the nature and circumstances of the offense and the history and characteristics
              of the defendant;

       (2)    the need for the sentence imposed--

              (A)     to reflect the seriousness of the offense, to promote respect for the law,
                      and to provide just punishment for the offense;

              (B)     to afford adequate deterrence to criminal conduct;

              (C)     to protect the public from further crimes of the defendant; and

              (D)     to provide the defendant with needed educational or vocational
                      training, medical care, or other correctional treatment in the most
                      effective manner ….


       In executing these statutory responsibilities, the Court must first correctly calculate the

applicable Guidelines range. Gall v. United States, 128 S.Ct. 586, 596 (2007). The Second

Circuit has observed that Ain the overwhelming majority of cases, a Guidelines sentence will

fall comfortably within the broad range of sentences that would be [upheld as] reasonable in

the particular circumstances.@ United States v. Fernandez, 443 F.3d 19, 27 (2d Cir. 2006). See

also United States v. Eberhard, 525 F.3d 175, 179 (2d Cir. 2008).


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       Next, after giving the parties an opportunity to argue for whatever sentence they deem

appropriate, this Court must then Aconsider all the § 3553(a) factors to determine whether they

support the sentence requested by a party.@ Gall, 128 S.Ct. at 596. In determining whether

the ' 3553(a) factors support the requested sentence, the Court Amust make an individualized

assessment based on the facts presented.@ Id., at 597. In that regard, A[n]o limitation shall be

placed on the information concerning the background, character and conduct of a person

convicted of an offense which a court . . . may receive and consider for the purpose of

imposing an appropriate sentence.@ 18 U.S.C. ' 3661. After determining the appropriate

sentence, the Court Amust adequately explain the chosen sentence to allow for meaningful

appellate review and to promote the perception of fair sentencing.@ Id.



                                        DISCUSSION

       The government submits that a sentence of imprisonment at the high end of the

guidelines range would be appropriate for the following reasons.



       Defendant’s threatening voice mail messages were carefully crafted to instill fear. The

voice mail messages were virtually identical, indicating they were written out beforehand.

Both messages stated, “… You are taking ours, we are taking yours. Anytime, anywhere.

We know where they are. We are not going to feed them sandwiches, we are going to feed

them lead….” The unmistakable message – and the one understood by the victims – was that

defendant was going to shoot the victims and their loved ones, “anytime, anywhere.”




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       Defendant’s voice mail messages threatened gun violence. That is not political speech.

The victims’ staff members testified at trial that the defendant’s threatening voice mails stood

out because they went far beyond the normal political messages the victims’ offices received.

The victims – who have spouses and young children – suffered extreme fear and emotional

distress as a result of the defendant’s threat of gun violence.



       Finally, throughout this case, defendant has refused to show any remorse for his

actions. This refusal to show remorse, combined with defendant’s interest in bomb making

and “hitman” techniques, as reflected by the books in defendant’s apartment, raise concerns

about what actions defendant might try to take in the future.



                                        CONCLUSION

       Based upon the nature and circumstances of the offense, the need for the sentence

imposed to reflect the seriousness of the offense and to afford adequate deterrence, a sentence

of imprisonment at the high end of the guidelines range would be sufficient but not greater

than necessary to achieve the purposes of 18 U.S.C. § 3553.


       DATED:         Buffalo, New York, November 20, 2019.

                                                    JAMES P. KENNEDY, Jr.
                                                    United States Attorney

                                             BY:    s/ PAUL E. BONANNO
                                                    Assistant United States Attorney
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                               CERTIFICATE OF SERVICE

       I hereby certify that on November 20, 2019, I electronically filed, the foregoing

GOVERNMENT’S SENTENCING MEMORANDUM, and I mailed the foregoing, by the

U.S. Postal Service, to the following participant:


              Carlos Bayon
              Northern Neck Regional Jail
              PO Box 1060
              Warsaw, VA 22572



                                                     s/ JENNIFER L. ATKINS
